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                                      Electronic Appearance Sheet


David Molton, Brown Rudnick LLP
Client(s): Official Talc Claimants Committee

John Bevis, The Barnes Law Group, LLC
Client(s): Claimants represented by The Barnes Law Group, LLC.

Brian Goldstein, Goldstein Greco, P.C.
Client(s): Creditor Talcum Powder Claimants Represented by Goldstein Greco, P.C.

Sander Esserman, Stutzman Bromberg Esserman & Plifka
Client(s): Official Committee of Talc Claimants

Lynn Neuner, Simpson Thacher & Bartlett
Client(s): Travelers

Andrew Frankel, Simpson Thacher & Bartlett
Client(s): Travelers

Jason Brookner, Gray Reed
Client(s): Travelers

Casey Roy, Ross, Smith & Binford, PC
Client(s): Tort Claimants of the Nachawati Law Group

Michelle Parfitt, Ashcraft & Gerel, LLP
Client(s): Rebecca Love (TCC) and other claimants

Peter D'Apice, Stutzman, Bromberg, Esserman & Plifka, P.C.
Client(s): Official Committee of Talc Claimants

Kris Hansen, Paul Hastings LLP
Client(s): Official Talc Committee

Matt Murphy, Paul Hastings LLP
Client(s): Official Talc Committee

Charles Rubio, Parkins & Rubio LLP
Client(s): Ad Hoc Committee of Supporting Counsel

Lenard Parkins, Parkins & Rubio LLP
Client(s): Ad Hoc Committee of Supporting Counsel

Allison Brown, Skadden, Arps, Slate, Meagher & Flom
Client(s): Red River Talc LLC

Daniel Prieto, Jones Day
Client(s): Red River Talc LLC



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Greg Gordon, Jones Day
Client(s): Debtor Red River

John Higgins, Porter Hedges LLP
Client(s): Debtor

James Keefe, Porter Hedges LLP
Client(s): Debtor

Philip Matthews, Duane Morris LLP
Client(s): Republic Indemnity Company of America

Erich Buck, Adelman & Gettleman, Ltd.
Client(s): Truck Insurance Exchange

Jason Cohen, Bracewell llp
Client(s): Randi Ellis as Future Claimants' Representative

Nancy Davis, Bracewell LLP
Client(s): Randi Ellis as Future Claimants' Representative

Daniel Prieto, Jones Day
Client(s): Red River Talc LLC




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